             Case 1:21-cr-00052-TJK Document 132 Filed 04/28/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
                 V.                          )
                                             )                      No. 21-cr-52 (TJK)
MATTHEW GREENE,                              )
                        Defendant.           )
___________________________________ )


                                     JOINT STATUS UPDATE

        Matthew Greene, by and through his attorneys Michael Kasmarek, Esq. and Michael

Spano, Esq., after consultation with the Assistant United States Attorney Erik Kenerson, Esq.,

hereby notify the Court that Defendant Greene’s cooperation remains ongoing. The parties

request that the Court set another deadline, in approximately 90 days, at which time the parties

can provide a further update. The parties do not request that the Court set a sentencing date at

this time.

        Undersigned counsel has conferred with AUSA Erik Kenerson, Esq. and was advised that

counsel may file this as a joint notice.

Dated: April 28, 2023                        Respectfully submitted,

                                             /s/ Michael Kasmarek, Esq.
                                             ______________________
                                             Bar roll number: 702427
                                             Attorney for the Defendant
                                             Kasmarek Law Office, PLLC
                                             440 East Washington Street
                                             Syracuse, New York 13202
Case 1:21-cr-00052-TJK Document 132 Filed 04/28/23 Page 2 of 2
